       Case 1:15-cv-00086-WMS-HKS Document 36 Filed 03/01/18 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
----------------------------------------------------------------

WENGER, S.A.,

                                    Plaintiff,                 15-cv-637-WMS
         -vs-

FUZHOU HUNTER PRODUCT IMPORT
AND EXPORT CO., LTD.; SWISSDIGITAL
USA CO., LTD.; KRUMMHOLZ
INTERNATIONAL INC.; SWISSGEAR
SARL; and ZHIJIAN “HUNTER” LI,

                                    Defendants.
----------------------------------------------------------------
                   JOINT STIPULATION FOR VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         The parties, by and through their respective undersigned counsel and

pursuant to Federal Rule of Civil Procedure 41(a) & (c), hereby jointly voluntarily

dismiss this action, including all claims, defenses and counterclaims, with prejudice.

Each Party shall bear its own fees and costs incurred in this action.

Dated this 28rd day of February, 2018.
     Case 1:15-cv-00086-WMS-HKS Document 36 Filed 03/01/18 Page 2 of 3




                                     Respectfully submitted,

CONNORS LLP
Counsel for Plaintiff
1000 Liberty Building
Buffalo, New York 14202
Tel: (716) 852-5533


By: /s/ James W. Grable, Jr.
        James W. Grable, Jr., Esq.
        Email: jwg@connorsllp.com

Joseph A. DeMaria, Esq.
FOX ROTHSCHILD LLP
Counsel for Plaintiff
One Biscayne Tower 2 S. Biscayne Blvd.
Suite 2750
Miami, Florida 33131
Tel : (305) 442-5441
Email : jdemaria@foxrothschild.com

David Ira Greenbaum, Esq.
FOX ROTHSCHILD LLP
Counsel for Plaintiff
222 Lakeview Avenue
Suite 700
West Palm Beach, Florida 33401
Tel : (561) 804-4423
Email : dgreenbaum@foxrothschild.com

Caroline A. Morgan, Esq.
FOX ROTHSCHILD LLP
Counsel for Plaintiff
100 Park Avenue
Suite 1500
New York, New York 10017
Tel : (212) 692-0940
Email : cmorgan@foxrothschild.com
    Case 1:15-cv-00086-WMS-HKS Document 36 Filed 03/01/18 Page 3 of 3




MEREDITH & KEYHANI, PLLC
Counsel for Defendants
330 Madison Avenue, 6th Floor
New York, New York 10017
Tel: (646) 536-5692


By:_/s/ Darius Keyhani____
       Darius Keyhani, Esq.
       Email: dkeyhani@meredithkeyhani.com
